          Case 1:19-cv-02367-ABJ Document 61 Filed 01/25/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          )
PETER STRZOK,                             )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                                             Civil Action No. 19-2367 (ABJ)
                                          )
ACTING ATTORNEY GENERAL JEFFREY A. )
ROSEN, in his official capacity as Acting )
Attorney General, et al.,                 )
                                          )
                      Defendants.         )

 UNOPPOSED MOTION TO COMPEL DONALD J. TRUMP FOR PRESIDENT, INC.
    TO RESPOND TO SUBPOENA AND FOR AN ORDER TO SHOW CAUSE

       Plaintiff Peter Strzok, by counsel and pursuant to Federal Rules of Civil Procedure 37(a)

and 45(g), respectfully moves this Court for an order compelling Donald J. Trump for President,

Inc. (“Trump for President”) to produce all documents responsive to the subpoena duces tecum

filed herewith and to show cause as to (i) why it should not be held in contempt, and (ii) why

Plaintiff should not be awarded his costs for this motion.

       As set forth in Plaintiff’s Memorandum of Points of Law and Authorities, this Court should

grant the proposed order to compel and show cause because Plaintiff properly subpoenaed Trump

for President through its registered agent, yet Trump for President has failed to object or respond

as required by law.

                                 Local Rule 7(m) Certification

       Plaintiff’s counsel attempted to reach Trump for President, but those calls and emails have

not been returned. Counsel for Trump for President in another matter returned Counsel’s email,

but stated he was not counsel for the Campaign in this matter and did not know who was.




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Defendants’ counsel were consulted concerning this Motion, and Defendants take no position on

the Motion.




Dated: January 25, 2021                   Respectfully submitted,


                                          /s/ Aitan D. Goelman
                                          Aitan D. Goelman (D.C. Bar No. 446636)
                                          Christopher R. MacColl (D.C. Bar No. 1049153)
                                          ZUCKERMAN SPAEDER LLP
                                          1800 M Street NW, Suite 1000
                                          Washington, DC 20036
                                          Telephone: (202) 778-1800
                                          AGoelman@zuckerman.com

                                          Richard A. Salzman (D.C. Bar No. 422497)
                                          HELLER, HURON, CHERTKOF & SALZMAN
                                          PLLC
                                          1730 M Street NW, Suite 412
                                          Washington, DC 20036
                                          Telephone: (202) 293-8090
                                          salzman@hellerhuron.com

                                          Counsel for Plaintiff Peter Strzok




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         Case 1:19-cv-02367-ABJ Document 61 Filed 01/25/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       On January 26, 2021, I will serve this Motion, the Memorandum, and the exhibits on

Donald J. Trump for President, Inc. and ensure that Donald J. Trump for President, Inc. has

received actual notice of this motion by: (1) arranging for service on Donald J. Trump for

President, Inc.’s registered agent in Virginia; (2) mailing via USPS the Donald J. Trump for

President, Inc. headquarters in New York; and (3) emailing an electronic copy to an attorney who

has appeared on behalf of Donald J. Trump for President, Inc. in another action.



Dated: January 25, 2021                      /s/ Christopher R. MacColl




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          )
PETER STRZOK,                             )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                                            Civil Action No. 19-2367 (ABJ)
                                          )
ACTING ATTORNEY GENERAL JEFFREY A. )
ROSEN, in his official capacity as Acting )
Attorney General, et al.,                 )
                                          )
                      Defendants.         )

  MEMORANDUM OF POINTS OF LAW AND AUTHORITIES IN SUPPORT OF
 UNOPPOSED MOTION TO COMPEL DONALD J. TRUMP FOR PRESIDENT, INC.
    TO RESPOND TO SUBPOENA AND FOR AN ORDER TO SHOW CAUSE

       Plaintiff’s agent served the registered agent of Donald J. Trump for President, Inc. (“Trump

for President”) with the subpoena filed herewith on December 11, 2020. (See Ex. A). Trump for

President was required to object or respond to the subpoena by December 30, 2020. (See Ex. A;

Fed R. Civ. P. 45(d)(2)(B) (objections “must be served before the earlier of the time specified for

compliance or 14 days after the subpoena is served”)). Absent objection, a third-party that has

received a subpoena pursuant to Federal Rule of Civil Procedure 45, “must comply with [the]

plaintiff’s document requests.” Shvartser v. Lekser, 292 F. Supp. 3d 272, 276 (D.D.C. 2018).

Trump for President failed to object or respond.

       This Court has jurisdiction over Trump for President for its failure to comply with the

subpoena. Federal Rule of Civil Procedure 45(g) provides jurisdiction to “[t]he court for the

district where compliance is required.” The District of Columbia is the district where compliance

is required because the third-party subpoena listed the offices of Zuckerman Spaeder LLP in

Washington, D.C. as the place for performance. There is no doubt that Trump for President
         Case 1:19-cv-02367-ABJ Document 61-1 Filed 01/25/21 Page 2 of 4




regularly transacts business in person in the within 100 miles of central Washington, D.C., and as

such, this place for performance was proper. See Fed. R. Civ. P. 45(c)(2)(A).

        The subpoena’s requests for production were reasonable. Count I in this action asserts that

Plaintiff’s First Amendment rights were violated when his employment was terminated at the

behest of high-ranking members of the Trump administration due to Plaintiff’s political views.

Count III asserts the Defendants willfully and intentionally violated the Privacy Act when they

disclosed Plaintiff’s records, and Plaintiff contends that those unlawful disclosures were politically

motivated. The political motivations behind Defendants’ termination of Plaintiff’s employment

and their disclosure of his private text messages will likely be evidenced by communications

among President Trump, high ranking administration officials, and their extra-governmental

henchmen. Trump for President is the campaign committee that was organized on June 29, 2015

to support Donald J. Trump’s 2016 presidential campaign. (See Trump for President Statement of

Organization,        Federal        Election       Commission,         https://docquery.fec.gov/cgi-

bin/forms/C00580100/1011720/). The campaign has continued its operations since, including by

facilitating President Trump’s attacks on Plaintiff’s character. (See Compl. ¶¶ 46-48). Plaintiff’s

subpoena to Trump for President contains only six requests, each of which seeks information

relevant to Plaintiff’s claims, and Trump for President has not objected to any of them. The Court

should therefore order that Trump for President produce all documents responsive to the subpoena

that are in its possession, custody, or control.

        The Court should also order Trump for President to show cause as to (i) why it should not

be held in contempt, and (ii) why Plaintiff should not be awarded his costs for this motion. This

Court has authority under Federal Rule of Civil Procedure 45 “hold in contempt a person who,

having been served, fails without adequate excuse to obey the subpoena or an order related to it.”




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         Case 1:19-cv-02367-ABJ Document 61-1 Filed 01/25/21 Page 3 of 4




The advisory committee notes make clear, however, that a contempt proceeding may be initiated

by an order to show cause. See Fed. R. Civ. P. 45 (committee notes on 2013 amendment); see also

S.E.C. v. Hyatt, 621 F.3d 687, 695 (7th Cir. 2010) (“show-cause order satisfies the due-process

notice requirement by giving the nonmoving party notice of his opportunity to respond before the

substantive request for relief [i.e. contempt] is entertained”). Additionally, Rule 37(a)(1) provides

that “[o]n notice to other parties and all affected persons, a party may move for an order compelling

disclosure or discovery,” and under Rule 37(a)(5), “[i]f the motion is granted . . . the court must,

after giving an opportunity to be heard, require the party or deponent whose conduct necessitated

the motion . . to pay the movant’s reasonable expenses incurred in making the motion, including

attorney’s fees.” An order compelling Trump for President to show why it should not be held in

contempt and required to compensate Plaintiff for his costs—pursuant either to the Court’s powers

under Rule 37 or 45—is therefore justified. Plaintiff also requests that the Court notify Trump for

President of its obligation to preserve responsive documents. Issuing this order promptly is

particularly important given Trump for President’s conduct in recent months.




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Dated: January 25, 2021             Respectfully submitted,


                                    /s/ Aitan D. Goelman
                                    Aitan D. Goelman (D.C. Bar No. 446636)
                                    Christopher R. MacColl (D.C. Bar No. 1049153)
                                    ZUCKERMAN SPAEDER LLP
                                    1800 M Street NW, Suite 1000
                                    Washington, DC 20036
                                    Telephone: (202) 778-1800
                                    AGoelman@zuckerman.com

                                    Richard A. Salzman (D.C. Bar No. 422497)
                                    HELLER, HURON, CHERTKOF & SALZMAN
                                    PLLC
                                    1730 M Street NW, Suite 412
                                    Washington, DC 20036
                                    Telephone: (202) 293-8090
                                    salzman@hellerhuron.com

                                    Counsel for Plaintiff Peter Strzok




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                Strzok v. Barr, No. 1:19-CV-2367-ABJ
Exhibit to Plaintiff’s Motion for an Order to Compel and Show Cause




                       Exhibit A
                                              Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 2 of 12



                                                             US District Court for the District of Columbia

PETER P. STRZOK                                                                     Case No.:           1:19-CV-02367-ABJ
                                   Plaintiff/Petitioner
                                                                                    Hearing Date:       12/30/2020
vs.
WILLIAM P. BARR, IN HIS OFFICIAL CAPACITY AS                                        AFFIDAVIT OF SERVICE OF
ATTORNEY GENERAL OF THE UNITED STATES, ET                                           Subpoena to Produce Documents, Information or
AL.                                                                                 Objects or to Permit Inspection of Premises in a Civil
                              Defendant/Respondent                                  Action; Federal Rule of Civil Procedure; Plaintiff's Third
                                                                                    Party Subpoena Duces Tecum, Exhibit A

Received by Glen Cornwell, on the 10th day of December, 2020 at 12:58 PM to be served upon DONALD J. TRUMP
FOR PRESIDENT, INC. c/o CT CORPORATION SYSTEM, REGISTERED AGENT at 4701 COX RD. STE 285, GLEN
ALLEN, Henrico County, VA 23060.
On the 11th day of December, 2020 at 12:10 PM, I, Glen Cornwell, SERVED DONALD J. TRUMP FOR PRESIDENT,
INC. c/o CT CORPORATION SYSTEM, REGISTERED AGENT at 4701 COX RD. STE 285, GLEN ALLEN, Henrico
County, VA 23060 in the manner indicated below:

CORPORATE SERVICE, by personally delivering 1 copy(ies) of the above listed documents to the named Corporation,
by serving CT CORPORATION SYSTEM, REGISTERED AGENT, on behalf of said Corporation.

THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
Who accepted service in accordance with social distancing requirements (placed the documents in a clearly
visible place at least six feet away from the subject and advised the subject to retrieve them after stepping away),
with identity confirmed by usual service address, a person of unknown gender. Residency indicated by subject
previously served here.

Service Fee Total: $95.00

Per U.S. Code § 1746, I declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.




NAME:
         {{t:s;r:y;o:"Signer";w:199;h:24;}}




         Glen Cornwell
                                                                    December 11, 2020
                                                                               Server ID #
                                                                                                                     {{t:t;r:y;o:"Signer";l:"Date";w:110;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                     Date




                                                                                                                                                                                                        Page 1 of 1
               REF: REF-7043132                                                                                                                Tracking #: 0061815534
                     Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 3 of 12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                            DistrictDistrict
                                                       __________    of Columbia
                                                                             of __________
                         Peter P. Strzok
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:19-cv-2367
                                                                              )
           Attorney General William P. Barr et al.
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                              Donald J. Trump for President, Inc., 725 Fifth Ave., New York, New York 10022
 To:

                                                       (Name of person to whom this subpoena is directed)

    " Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Exhibit A



  Place: Zuckerman Spaeder LLP                                                          Date and Time:
           1800 M St NW Suite 1000
           Washington, DC 20036                                                                             12/30/2020 12:00 pm

     " Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        12/09/2020

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                   /s/ Aitan D. Goelman
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Peter P. Strzok                                                , who issues or requests this subpoena, are:
Aitan D. Goelman, Zuckerman Spaeder LLP, 1800 M St. Washington, DC, agoelman@zuckerman.com, 202-778-1999

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 4 of 12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:19-cv-2367

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            " I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            " I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                      Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 5 of 12
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 6 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
PETER P. STRZOK,                                     )
                                                     )
                               Plaintiff,            )
                                                     )
                       v.                            )      Case No. 1:19-CV-02367-ABJ
                                                     )
WILLIAM P. BARR, in his official capacity            )
as Attorney General of the United States, et al.,    )
                                                     )
                               Defendants.           )
                                                     )


            PLAINTIFF STRZOK’S THIRD PARTY SUBPOENA DUCES TECUM

                                             EXHIBIT A

       Plaintiff Strzok, through his counsel and pursuant to Federal Rules of Civil Procedure 26

and 45, hereby requests that You produce each and every document in Your possession, custody

or control that is responsive to the below Requests by December 30, 2020 or within fourteen (14)

days of service, whichever is later.

                                            DEFINITIONS

       1.      “You,” “Your,” or “Yours” means Donald J. Trump for President, Inc., including

your employees and agents.

       2.      “Plaintiff” or “Mr. Strzok” means Plaintiff Peter P. Strzok.

       3.      “Ms. Page” means Ms. Lisa Page, Plaintiff in the action Page v. U.S. Department

of Justice, No. 1:19-cv-03675 (D.D.C.).




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        Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 7 of 12




       4.       “And” as well as “or” shall be construed either disjunctively or conjunctively as

necessary to bring within the scope of these Requests information or Documents which might

otherwise be construed to be outside their scope.

       5.       “Any” shall be construed to include the word “all” and “all” shall be construed to

include the word “any.”

       6.       “Each” shall be construed to include the word “every” and “every” shall be

construed to include the word “each.”

       7.       “Communication(s)” means any exchange of information by any means of

transmission, sending or receipt of information of any kind by or through any means including,

but not limited to, verbal expression, gesture, writings, documents, language (machine, foreign,

or otherwise) of any kind, computer electronics, email, sms, mms or other “text” messages,

messages on “social networking” sites (including but not limited to, Facebook, Google+,

Myspace, and Twitter), shared applications from cell phones, “smartphones,” netbooks and

laptops, sound, radio, or video signals, telecommunication, telephone, teletype, facsimile, or by

other means. “Communications” also shall include, without limitation, all originals and copies of

inquiries, discussions, conversations, correspondence, negotiations, agreements, understandings,

meetings, notices, requests, responses, demands, complaints, press, publicity, or trade releases

and the like that are provided by you or to you by others.

       8.       “Concerning” means relating to, referring to, describing, evidencing or

constituting.

       9.       “Defendants” means (i) Attorney General William F. Barr, in his official capacity;

(ii) the United States Department of Justice; (iii) FBI Director Christopher A. Wray, in his

official capacity; and/or (iv) the Federal Bureau of Investigation.



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           Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 8 of 12




       10.      “Document(s)” has the same meaning herein as used in Rule 34 of the Federal

Rules of Civil Procedure and shall accordingly be construed in its broadest sense to include,

without limitation, any writings, drawings, graphs, charts, photographs, models, sound

recordings, images, and other data or data compilations, including metadata, whether written,

printed, typed, recorded, copied, or otherwise created, and whether stored in tangible, physical,

electronic, magnetic, or other form, through (or from) which information is conveyed or stored.

Two or more items described by the preceding sentence that are materially different—for

example, have different handwritten notes or highlighting—constitute separate Documents under

this definition. Document(s) also include any file, tab, folder, binder, box, cabinet, disk, CD,

DVD, or other labels appended to any other Document(s).

       11.      “Include” (and any variations thereof) means including, but not limited to, and

does not limit the scope of a request in any way.

       12.      “Person” means any natural person, corporation, firm, partnership, unincorporated

association, trust or other legal, business, or governmental entity, and any group or combination

thereof.

       13.      “Press” means any person or entity that publishes, compiles, or participates in the

publishing or compilation of information or opinions for public dissemination including through

any newspaper, periodical, broadcast, blog, or other publication.

       14.      “Members of the Press” include any journalist, news researcher, or any employee

of the Press. Examples of Members of the Press include Matt Apuzzo, Adam Goldman, Devlin

Barrett, and Karoun Demirjian.




                                                 3
        Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 9 of 12




       15.     As used herein, the singular shall include the plural and the plural shall include

the singular whenever necessary to bring within the scope of these Requests information or

Documents which might otherwise be outside their scope.

       16.     As used herein, the masculine shall include the feminine and the feminine shall

include the masculine whenever necessary to bring within the scope of these Requests

information and Documents which might otherwise be outside their scope.

       17.     To the extent not otherwise defined herein, all words shall have their usual and

ordinary meaning as the context would indicate or require.

                                        INSTRUCTIONS

       1.      You are to respond to the following Requests and produce responsive materials

within your possession, custody, or control in accordance with, and as required by, the Federal

Rules of Civil Procedure. Production of responsive materials and a written response explaining

the scope of Your production should be made by the later of fourteen (14) days after service of

the subpoena or December 30, 2020.

       2.      Documents in your possession, custody, or control are requested and include

documents in the possession of your employees, agents, representatives, and attorneys.

       3.      You must produce all documents responsive to each request. To the extent that

You contend that is not possible, You must respond to the extent possible, explain why a full

response is not possible. Relatedly, to the extent Your search for responsive documents is

restrictive in any way, you must describe those restrictions and explain why they will not result

in responsive materials not being produced.




                                                 4
        Case 1:19-cv-02367-ABJ Document 61-2 Filed 01/25/21 Page 10 of 12




        4.     The fact that a Request provides certain examples of responsive Documents that

You must produce does not change the fact that other kinds of Documents may also be

responsive, which You must also produce in response to that request.

        5.     Produce electronically stored information as load-ready data, including Tagged

Image File Format (TIFF) documents, text files, load files (OPT, DAT, LSI), and native files.

You much provide all available metadata for each document you produce.

        6.     Produce scans of any hard copy materials as load-ready data, and supply the

custodian from whom and location from which each hard copy document was collected.

        7.     Documents withhold from production or redacted on the basis of attorney-client

privilege, work product protection, or any other privilege or protection shall be logged. The

privilege log must include an entry for each documents in chronological order, setting forth as to

each the following: (a) document type; (b) document date; (c) the document name or subject line;

(d) for a communication the sender, addressee, and each other recipient; (e) the custodian from

whom the document was collected; (f) each privilege or immunity claimed; (g) a description of

each the withheld Document or redacted material that is sufficiently descriptive to allow Plaintiff

to assess Your privilege claim.

        8.     You may not redact any information on the basis that it is duplicative or

irrelevant.

        9.     You must produce Documents not otherwise responsive to a request if they are

attached to, enclosed with, or electronically forwarded with any Document that is responsive.

        10.    If more than one copy of a requested document (e.g., a clean copy and a copy

with handwritten or other notations) exists, and if one or more documents have any writing on

them which differentiate them from other copies, you shall produce all such copies.



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       11.      Each Request shall be deemed continuing so as to require supplemental responses

if You obtain or discover additional Documents after the date of Your initial production.

       12.      Unless otherwise stated, the Relevant Period is January 1, 2016 through the

present. You much produced all documents drafted, created, modified, saved, sent, or received

during the Relevant Period to the extent they are responsive to one or more of the Requests.

                                   SUBPOENA REQUESTS

Pursuant to Plaintiff’s duly served subpoena duces tecum, You are required to produce:

       1.       All communications, or documents reflecting communications, between or

amongst You, President Trump, Don McGahn, the Defendants, or any current or former

employee or agent of the Defendants concerning the disclosure of text messages exchanged

between Mr. Strzok and Ms. Page to Members of the Press.

       2.       All other documents concerning text messages exchanged between Mr. Strzok

and Ms. Page.

       3.       All documents concerning links between (a) Donald Trump, any immediate

family member of Donald Trump, The Trump Organization, Jared Kushner, or You and

(b) Vladimir Putin, agents of the Moscow Kremlin, Russian oligarchs, or any Russian banks or

business enterprises; or document concerning fear that such connections would be uncovered by

the Mueller investigation, the FBI, or any other agency or apparatus of the United States

government.

       4.       All documents concerning any wishes, desires, contemplations, plans, or efforts

by Donald Trump, members of the Trump administration, or You to discredit the FBI, Mr.

Strzok, Ms. Page, or the Mueller investigation.

       5.       All documents and communications concerning Donald Trump’s, the Trump

administration’s, or Your desires or directives for termination of Mr. Strzok’s employment.

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       6.     All documents and communication concerning any statements Donald Trump has

made about Mr. Strzok or Ms. Page.

                                         /s/ Aitan D. Goelman
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
PETER STRZOK,                                        )
                                                     )
                               Plaintiff,            )
                                                     )
                       v.                            )      Case No. 1:19-CV-2367-ABJ
                                                     )
WILLIAM P. BARR, in his official capacity            )
as Attorney General of the United States, et al.,    )
                                                     )
                               Defendants.           )
                                                     )


                                      [PROPOSED] ORDER

       WHEREAS Plaintiff Peter Strzok has filed proof of service that on December 11, 2020 his

agent served Donald J. Trump for President, Inc. with a third-party subpoena (the “Subpoena”);

        AND WHEREAS Plaintiff’s attorneys have represented that Donald J. Trump for

President, Inc. has not responded to the Subpoena;

       IT IS ORDERED that Plaintiff shall promptly serve this Order and a copy of the Subpoena

on Donald J. Trump for President, Inc. and return proof of service to this Court.

       IT IS FURTHER ORDERED that Donald J. Trump for President, Inc. shall (i) preserve

all documents responsive to the Subpoena; (ii) produce all documents responsive to the Subpoena

to Plaintiff’s counsel within 14 days of service of this Order; and (iii) appear and show cause,

within 14 days of service of this Order, as to why it should not be held in contempt and why

Plaintiff’s costs for the Motion to Compel and for an Order to Show Cause should not be awarded.
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Dated:________________                    _______________________
                                          Hon. Amy Berman Jackson
                                          United States District Judge




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